     Case 2:21-cv-00141-DBP Document 2 Filed 03/08/21 PageID.2 Page 1 of 11




Matthew J. Morrison (Utah Bar No. 14562)
1887 N. 270 E.
Orem UT 84057
(801) 845-2581
matt@oremlawoffice.com

Attorney for Plaintiff


                          IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF UTAH

                                             CASE NO:

JILL ADLER,
individually and on behalf of all
others similarly situated,                                     CLASS ACTION

        Plaintiff,                                             JURY TRIAL DEMANDED

v.

ALL HOURS PLUMBING DRAIN CLEANING
24-7-365 LLC,

      Defendant.
__________________________________/

                                    CLASS ACTION COMPLAINT

        Plaintiff Jill Adler brings this class action against Defendant All Hours Plumbing Drain

Cleaning 24-7-365 LLC (“Defendant”) and alleges as follows upon personal knowledge as to

Plaintiff and Plaintiff’s own acts and experiences, and, as to all other matters, upon information

and belief, including investigation conducted by Plaintiff’s attorneys.

                                     NATURE OF THE ACTION

        1.       This is a putative class action pursuant to the Telephone Consumer Protection Act, 47

U.S.C. §§ 227, et seq. (the “TCPA”).


                                                   1
   Case 2:21-cv-00141-DBP Document 2 Filed 03/08/21 PageID.3 Page 2 of 11




        2.      Defendant markets itself as a “go-to” affordable plumber in Salt Lake City, UT” with

“24 hour plumbing service dedicated to providing the absolute highest quality service at the best

prices”.1

        3.      Defendant also uses prerecorded messages to market its goods and services to

individuals’ cellular phone numbers without first obtaining the required express written consent.

        4.      Through this action, Plaintiff seeks injunctive relief to halt Defendant’s illegal

conduct, which has resulted in the invasion of privacy, harassment, aggravation, and disruption of the

daily life of thousands of individuals. Plaintiff also seeks statutory damages on behalf of Plaintiff and
members of the Class, and any other available legal or equitable remedies.

                                   JURISDICTION AND VENUE

        5.      This Court has federal question subject matter jurisdiction over this action pursuant to

28 U.S.C. § 1331, as the action arises under the Telephone Consumer Protection Act, 47 U.S.C. §§

227, et seq. (“TCPA”).

        6.      The Court has personal jurisdiction over Defendant and venue is proper in this District

because Defendant directs, markets, and provides its business activities to this District, and because

Defendant’s unauthorized marketing scheme was directed by Defendant to consumers in this District,

including Plaintiff.

        7.      Furthermore, Defendant initiated and directed, or caused to be initiated and directed,

the transmission of unsolicited text messages to Plaintiff’s cellular telephone number (the “2665

Number”). Plaintiff received such messages on the 2665 Number while residing in and physically

present in Utah.

                                               PARTIES

        8.      Plaintiff is a natural person who, at all times relevant to this action, was a resident of

the State of Utah.




1 Allhoursplumbingslc.com/about-us/
   Case 2:21-cv-00141-DBP Document 2 Filed 03/08/21 PageID.4 Page 3 of 11




        9.        Defendant is a corporation whose principal office is located in Utah. Defendant

directs, markets, and provides its business activities throughout the state of Utah.

        10.       Unless otherwise indicated, the use of Defendant’s name in this Complaint includes all

agents, employees, officers, members, directors, heirs, successors, assigns, principals, trustees,

sureties, subrogees, representatives, vendors, and insurers of Defendant.

                                              THE TCPA

        11.       The TCPA prohibits: (1) any person from calling a cellular telephone number; (2)

using … an artificial or prerecorded voice; (3) without the recipient’s prior express consent. 47 U.S.C.
§ 227(b)(1)(A).

        12.       The TCPA exists to prevent communications like the ones described within this

Complaint. See Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740, 744 (2012).

        13.       In an action under the TCPA, a plaintiff must show only that the defendant “called a

number assigned to a cellular telephone service using an automatic dialing system or prerecorded

voice.” Breslow v. Wells Fargo Bank, N.A., 857 F. Supp. 2d 1316, 1319 (S.D. Fla. 2012), aff'd, 755

F.3d 1265 (11th Cir. 2014).

        14.       The Federal Communications Commission (“FCC”) is empowered to issue rules and

regulations implementing the TCPA. According to the FCC’s findings, calls in violation of the TCPA

are prohibited because, as Congress found, automated or prerecorded telephone calls are a greater

nuisance and invasion of privacy than live solicitation calls, and such calls can be costly and

inconvenient. The FCC also recognized that wireless customers are charged for incoming calls

whether they pay in advance or after the minutes are used. Rules and Regulations Implementing the

Telephone Consumer Protection Act of 1991, CG Docket No. 02-278, Report and Order, 18 FCC Rcd

14014 (2003).

        15.       In 2012, the FCC issued an order further restricting automated telemarketing calls,

requiring “prior express written consent” for such calls. See In the Matter of Rules & Regulations

Implementing the Tel. Consumer Prot. Act of 1991, 27 F.C.C.R. 1830, 1838 ¶ 20 (Feb. 15, 2012)

(emphasis supplied).

                                                    3
   Case 2:21-cv-00141-DBP Document 2 Filed 03/08/21 PageID.5 Page 4 of 11




        16.     To obtain express written consent for telemarketing calls, a defendant must establish

that it secured the plaintiff’s signature in a form that gives the plaintiff a “‘clear and conspicuous

disclosure’ of the consequences of providing the requested consent….and having received this

information, agrees unambiguously to receive such calls at a telephone number the [plaintiff]

designates.” In re Rules & Regulations Implementing the Tel. Consumer Prot. Act of 1991, 27

F.C.C.R. 1830, 1837 ¶ 18, 1838 ¶ 20, 1844 ¶ 33, 1857 ¶ 66, 1858 ¶ 71 (F.C.C. Feb. 15, 2012).

        17.     The TCPA regulations promulgated by the FCC define “telemarketing” as “the

initiation of a telephone call or message for the purpose of encouraging the purchase or rental of, or
investment in, property, goods, or services.” 47 C.F.R. § 64.1200(f)(12). In determining whether a

communication constitutes telemarketing, a court must evaluate the ultimate purpose of the

communication. See Golan v. Veritas Entm't, LLC, 788 F.3d 814, 820 (8th Cir. 2015).

        18.     “Neither the TCPA nor its implementing regulations ‘require an explicit mention of a

good, product, or service’ where the implication of an improper purpose is ‘clear from the context.’”

Id. (citing Chesbro v. Best Buy Stores, L.P., 705 F.3d 913, 918 (9th Cir. 2012)).

        19.     “‘Telemarketing’ occurs when the context of a call indicates that it was initiated and

transmitted to a person for the purpose of promoting property, goods, or services.” Golan, 788 F.3d at

820 (citing 47 C.F.R. § 64.1200(a)(2)(iii); 47 C.F.R. § 64.1200(f)(12); In re Rules and Regulations

Implementing the Telephone Consumer Protection Act of 1991, 18 F.C.C. Rcd at 14098 ¶ 141, 2003

WL 21517853, at *49).

        20.     The FCC has explained that calls motivated in part by the intent to sell property,

goods, or services are considered telemarketing under the TCPA. See In re Rules and Regulations

Implementing the Telephone Consumer Protection Act of 1991, 18 FCC Rcd. 14014, ¶¶ 139-142

(2003). This is true whether call recipients are encouraged to purchase, rent, or invest in property,

goods, or services during the call or in the future. Id.

        21.     In other words, offers “that are part of an overall marketing campaign to sell property,

goods, or services constitute” telemarketing under the TCPA. See In re Rules and Regulations

Implementing the Telephone Consumer Protection Act of 1991, 18 FCC Rcd. 14014, ¶ 136 (2003).
    Case 2:21-cv-00141-DBP Document 2 Filed 03/08/21 PageID.6 Page 5 of 11




        22.      If a call is not deemed telemarketing, a defendant must nevertheless demonstrate that

it obtained the plaintiff’s prior express consent.         See In the Matter of Rules and Regulations

Implementing the Tel. Consumer Prot. Act of 1991, 30 FCC Rcd. 7961, 7991-92 (2015) (requiring

express consent “for non-telemarketing and non-advertising calls”).

                                                   FACTS

        23.      On or about February 22, 2021, Defendant called Plaintiff’s cellular telephone with a

prerecorded message at the 2665 Number from the phone number 801-997-9591.

        24.      When Plaintiff listened to the prerecorded message, she was easily able to determine
that it was prerecorded. Rahn v. Bank of Am., No. 1:15-CV-4485-ODE-JSA, 2016 U.S. Dist. LEXIS

186171, at *10-11 (N.D. Ga. June 23, 2016) (“When one receives a call, it is a clear-cut fact, easily

discernible to any lay person, whether or not the recipient is speaking to a live human being, or is

instead being subjected to a prerecorded message.”).

        25.      Defendant’s prerecorded message call constitutes telemarketing/advertising because it

encouraged her to purchase, rent, or invest in property, goods, or services.

        26.      At the time Plaintiff received these calls and messages Plaintiff was the subscriber

and/or sole user of the 2665 Number.

        27.      At no point in time did Plaintiff provide Defendant with her express written consent to

be contacted by prerecorded message.

        28.      Upon information and belief, Defendant caused similar prerecorded messages to be

sent to individuals residing within this judicial district.

        29.      Defendant’s unsolicited prerecorded message caused Plaintiff additional harm,

including invasion of privacy, aggravation, annoyance, intrusion on seclusion, trespass, and

conversion. Defendant’s call also inconvenienced Plaintiff and caused disruption to Plaintiff’s daily

life.

        CLASS ALLEGATIONS

        PROPOSED CLASS



                                                       5
   Case 2:21-cv-00141-DBP Document 2 Filed 03/08/21 PageID.7 Page 6 of 11




        30.      Plaintiff brings this case as a class action pursuant to Fed. R. Civ. P. 23, on behalf of

Plaintiff and all others similarly situated.

        31.      Plaintiff brings this case on behalf of the Class defined as follows:

        NO CONSENT: All persons in the United States who, within four years prior to the
        filing of this action, (1) were sent a prerecorded message by or on behalf of Defendant,
        (2) regarding Defendant’s goods, products or services, and (4) for which Defendant
        failed to secure the called party’s express written consent and/or after the called party
        requested to not received future prerecorded messages from Defendant.

        32.      Plaintiff reserves the right to modify the Class definitions as warranted as facts are

learned in further investigation and discovery.

        33.      Defendant and its employees or agents are excluded from the Class. Plaintiff does not

know the number of members in each the Class but believes the Class members number in the several

thousands, if not more.

        NUMEROSITY

        34.      Upon information and belief, Defendant has placed automated calls and prerecorded

messages to cellular telephone numbers belonging to thousands of consumers throughout the United

States without their prior express consent. The members of the Class, therefore, are believed to be so

numerous that joinder of all members is impracticable.

        35.      The exact number and identities of the members of the Class are unknown at this time

and can only be ascertained through discovery. Identification of the Class members is a matter

capable of ministerial determination from Defendant’s call records.

        COMMON QUESTIONS OF LAW AND FACT

        36.      There are numerous questions of law and fact common to members of the Class which

predominate over any questions affecting only individual members of the Class. Among the questions

of law and fact common to the members of the Class are:

                 a) Whether Defendant made non-emergency calls to Plaintiff’s and Class members’
                     cellular telephones using a prerecorded message;

                 b) Whether Defendant can meet its burden of showing that it obtained prior express
   Case 2:21-cv-00141-DBP Document 2 Filed 03/08/21 PageID.8 Page 7 of 11




                    written consent to make such calls;

                c) Whether Defendant’s conduct was knowing and willful;
                d) Whether Defendant is liable for damages, and the amount of such damages; and
                e) Whether Defendant should be enjoined from such conduct in the future.
        37.     The common questions in this case are capable of having common answers. If

Plaintiff’s claim that Defendant routinely transmits calls to telephone numbers assigned to cellular

telephone services is accurate, Plaintiff and the Class members will have identical claims capable of

being efficiently adjudicated and administered in this case.
        TYPICALITY

        38.     Plaintiff’s claims are typical of the claims of the Class members, as they are all

based on the same factual and legal theories.

        PROTECTING THE INTERESTS OF THE CLASS MEMBERS

        39.     Plaintiff is a representative who will fully and adequately assert and protect the

interests of the Class, and has retained competent counsel. Accordingly, Plaintiff is an adequate

representative and will fairly and adequately protect the interests of the Class.

      PROCEEDING VIA CLASS ACTION IS SUPERIOR AND ADVISABLE

        40.     A class action is superior to all other available methods for the fair and efficient

adjudication of this lawsuit, because individual litigation of the claims of all members of the Class is

economically unfeasible and procedurally impracticable. While the aggregate damages sustained by

the Class are in the millions of dollars, the individual damages incurred by each member of the Class

resulting from Defendant’s wrongful conduct are too small to warrant the expense of individual

lawsuits. The likelihood of individual Class members prosecuting their own separate claims is remote,

and, even if every member of the Class could afford individual litigation, the court system would be

unduly burdened by individual litigation of such cases.

        41.     The prosecution of separate actions by members of the Class would create a risk of

establishing inconsistent rulings and/or incompatible standards of conduct for Defendant.           For

example, one court might enjoin Defendant from performing the challenged acts, whereas another

                                                    7
   Case 2:21-cv-00141-DBP Document 2 Filed 03/08/21 PageID.9 Page 8 of 11




may not. Additionally, individual actions may be dispositive of the interests of the Class, although

certain class members are not parties to such actions.
                                             COUNT I
                            Violations of the TCPA, 47 U.S.C. § 227(b)
                           (On Behalf of Plaintiff and No Consent Class)

          42.   Plaintiff re-alleges and incorporates the foregoing allegations as if fully set forth

herein.

          43.   It is a violation of the TCPA to make “any call (other than a call made for emergency

purposes or made with the prior express consent of the called party) using any …artificial or

prerecorded voice to any telephone number assigned to a … cellular telephone service ….” 47 U.S.C.

§ 227(b)(1)(A)(iii).

          44.   Defendant – or third parties directed by Defendant – used prerecorded messages to

make non-emergency telephone calls to the cellular telephones of Plaintiff and the other members of

the Class defined below.

          45.   Defendant – or third parties directed by Defendant – used prerecorded messages to

make non-emergency telephone calls to the telephones of Plaintiff and other members of the Class.

          46.   These calls were made without regard to whether or not Defendant had first obtained

express permission from the called party to make such calls. In fact, Defendant did not have prior

express consent to call the cell phones of Plaintiff and the other members of the putative Class when

its calls were made.

          47.   Defendant has, therefore, violated § 227(b)(1)(A)(iii) of the TCPA by using a

prerecorded message to make non-emergency telephone calls to the cell phones of Plaintiff and the

other members of the putative Class without their prior express written consent.

          48.   Defendant knew that it did not have prior express consent to make these calls, and

knew or should have known that it was using prerecorded messages. The violations were therefore

willful or knowing.
   Case 2:21-cv-00141-DBP Document 2 Filed 03/08/21 PageID.10 Page 9 of 11




        49.     As a result of Defendant’s conduct and pursuant to § 227(b)(3) of the TCPA, Plaintiff

and the other members of the putative Class were harmed and are each entitled to a minimum of

$500.00 in damages for each violation. Plaintiff and the members of the Class are also entitled to an

injunction against future calls. Id.

                                             COUNT II
                              VIOLATION OF 47 C.F.R. § 64.1200(a)
                            (On Behalf of Plaintiff and No Consent Class)

        50.     Plaintiff re-alleges and incorporates the foregoing allegations set forth in paragraphs 1
through 41 as if fully set forth herein.

        51.     It is a violation of the TCPA regulations promulgated by the FCC to “initiate any

telephone call…using an… artificial or prerecorded voice to any telephone number assigned to a

paging service, cellular telephone service, specialized mobile radio service, or other radio common

carrier service, or any service for which the called party is charged for the call.” 47 C.F.R. §

64.1200(a)(1)(iii).

        52.     Additionally, it is a violation of the TCPA regulations promulgated by the FCC

to “[i]nitiate, or cause to be initiated, any telephone call that includes or introduces an advertisement

or constitutes telemarketing, …artificial or prerecorded voice …other than a call made with the prior

express written consent of the called party or the prior express consent of the called party when the

call is made…” 47 C.F.R. § 64.1200(a)(2).

        53.     Defendant transmitted calls using prerecorded messages to call the telephone numbers

of Plaintiff and members of the putative class without their prior express written consent and/or

continued to prerecorded messages after consent was revoked.

        54.     Defendant has therefore violated § 64.1200(a)(1)(iii) and § 64.1200(a)(2) by using

prerecorded messages to make non-emergency telephone calls to the telephones of Plaintiff and the

other members of the putative Class without their prior express written consent.




                                                   9
  Case 2:21-cv-00141-DBP Document 2 Filed 03/08/21 PageID.11 Page 10 of 11




          55.      Defendant knew that it did not have prior express written consent to make these calls,

and knew or should have known that it was using a prerecorded message. The violations were

therefore willful or knowing.

          56.      As a result of Defendant’s conduct and pursuant to § 227(b)(3) of the TCPA, Plaintiff

and the other members of the putative Class were harmed and are each entitled to a minimum of

$500.00 in damages for each violation. Plaintiff and the class are also entitled to an injunction against

future calls.

          57.      Because Defendant knew or should have known that Plaintiff and the other members
of the putative Class had not given prior express written consent to receive its messages to their

telephones the Court should treble the amount of statutory damages available to Plaintiff and the other

members of the putative Class pursuant to § 227(b)(3) of the TCPA.



                                          PRAYER FOR RELIEF

          WHEREFORE, Plaintiff, individually and on behalf of the Class, prays for the following

relief:

                a) An order certifying this case as a class action on behalf of the Class as defined above,
                   and appointing Plaintiff as the representative of the Class and Plaintiff’s counsel as

                   Class Counsel;

                b) An award of actual and statutory damages for Plaintiff and each member of the Class;
                c) As a result of Defendant’s negligent violations of 47 U.S.C. §§ 227, et seq., and 47
                   C.F.R. § 64.1200, Plaintiff seeks for Plaintiff and each member of the Class $500.00

                   in statutory damages for each and every violation pursuant to 47 U.S.C. § 227(b)(3).

                d) As a result of Defendant’s knowing and/or willful violations of 47 U.S.C. §§ 227, et
                   seq., and 47 C.F.R. § 64.1200, Plaintiff seeks for Plaintiff and each member of the

                   Class treble damages, as provided by statute, up to $1,500.00 for each and every

                   violation pursuant to 47 U.S.C. § 227(b)(3).

                e) An order declaring that Defendant’s actions, as set out above, violate the TCPA;
  Case 2:21-cv-00141-DBP Document 2 Filed 03/08/21 PageID.12 Page 11 of 11




            f) An injunction requiring Defendant to cease all unsolicited call activity without
                obtaining consent first and to otherwise protect the interests of the Class;

            g) Such further and other relief as the Court deems necessary.
                                           JURY DEMAND

        Plaintiff hereby demand a trial by jury.

                           DOCUMENT PRESERVATION DEMAND


        Plaintiff demands that Defendants take affirmative steps to preserve all records, lists,

electronic databases or other itemizations associated with the allegations herein, including all records,

lists, electronic databases or other itemizations in the possession of any vendors, individuals, and/or

companies contracted, hired, or directed by Defendant to assist in sending the alleged

communications.

Respectfully submitted,



Dated: March 8, 2021

                                                   By: /s/ Matthew J. Morrison

                                                   Matthew J. Morrison

                                                   Attorney for the Plaintiff and the Proposed Class

                                                   Ignacio Hiraldo, Esq.
                                                   IJhiraldo@Hiraldolaw.com
                                                   IJH Law
                                                   1200 Brickell Ave.
                                                   Suite 1950
                                                   Miami, FL 33131
                                                   E: IJhiraldo@IJhlaw.com
                                                   T: 786-496-4469
                                                   Pro Hac Vice to be filed**

                                                   **Attorneys for Plaintiff and the Proposed Class


                                                     11
